
In re Gaspard, Sheila Christine; Sonnier Properties, Ltd.; Sonnier Electric/Lake Charles; Gaspard, Guy; Gaspard, Gary Wayne; Insurance Unlimited/LA; — Other(s); applying for writ of certiorari and/or review; to the Court of Appeal, Third Circuit, Nos. CA94-0510, CA94-0511; Parish of Calcasieu, Fourteenth Judicial District Court, Div. “H”, Nos. 92-5376, 93-1264.
Denied.
CALOGERO, C.J., would grant the writ and DENNIS and WATSON, JJ., would grant the writ.
LEMMON, J., not on panel.
